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review the ✎ PS 8
(3/15)


                              UNITED STATES DISTRICT COURT
                                                                       for
                                              Eastern District of Washington


 U.S.A. vs.                  Crawley, Gilbert A.                                       Docket No.                2:14CR00021-RMP-22

                                  Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Gilbert A Crawley, who was placed under pretrial release supervision by the Honorable U. S. District Judge Rosanna Malouf
Peterson, sitting in the Court at Spokane, Washington, on the 4th day of November 2014 under the following condition:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C.      802, unless prescribed by a licensed practitioner.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (If short insert here; if lengthy write on separate sheet and attach.)


Violation #5: The defendant tested presumptively positive for the presence of marijuana on February 7, 2017.

       PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATIONS
                            PREVIOUSLY REPORTED TO THE COURT

                                                                                          I declare under the penalty of perjury
                                                                                          that the foregoing is true and correct.
                                                                                          Executed on:        February 17, 2017
                                                                              by          s/Erik Carlson
                                                                                          Erik Carlson
                                                                                          U.S. Pretrial Services Officer

 THE COURT ORDERS
 [ ]  No Action
 [ ]  The Issuance of a Warrant
 [ ]  The Issuance of a Summons
 [X ] The incorporation of the violation(s) contained in this
       petition with the other violations pending before the
       Court.
 [ X] Defendant to appear before the Judge assigned to the case.
 [ ]  Defendant to appear before the Magistrate Judge.
 [ ]  Other


                                                                                             Signature of Judicial Officer

                                                                                                     2/17/2017
                                                                                             Date
